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                      EXHIBIT I
                 Case 1:17-cv-00181-LAP Document 80-9 Filed 10/07/20 Page 2 of 9
                                                  OR,IGINAL                                                     1

{ir            UNITED STATES D]STRICT COURT
-      -+.     SOUTHERN DISTRICT OF NEW YORK




               ELIEZER T'OPEZ and SUTIAIL I,AUREANO,


                       Plaint.iffs
                                              Case No. L7 Civ.        001-81- (LAP)

                       -   against. -

               THE C]TY OF NEW YORK, LUTS I,INARES,
               LUIS ANGELES, and,fOHN DOES #l--3,

                       Defendants
                                                              ----x
,4'\


UJ                                WiTness:       SHAN]QUA CLARK

                                        New   York, New York
                                  Tuesday, April        L7,   20Lg




               Reported by:
               Ellen Sandles
               Job L5827
               HUDSON REPORTING          & VIDEO                                      l_   -   800   - 310 -17 69

             New York                            Hudson Repofting & Video                              New Jersey
             Connecticut                        Nationwide 1-8OO-310-L7 69                            Pennsylvania
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  l-                                        April !7,      201-8

  2                                         10:10 a.m
  3

  4                              Deposition of    SHANIQUA CLARK,          held at
  5         the offices of Emery Cel1i Brinckerhoff e                      Abady,
  6         LLP, 500 Fifth Avenue, 10th Floor, New York,                       New

  7         York, before Ellen Sandles, a Shorthand Reporter
  B         and Notary Pub1ic of the State of New York.
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                                                                                                 3

 ]-     APPEARANCES
 2

 3              EMERY      CELLI BRINCKERHOFF & ABADY, LLP
 4              Attorneys for Plaintiffs
 5                        600 Fifth             Avenue

 6                        New    York,          New     York   1-0020

 7              BY    :   AT'T   FR   TeK   ,    FISQ   .



 B                        E-mail: africkoecbalaw.com
 9

1-0              CORPORATION COUNSEL OF THE                          CITY OF NEW YORK
11_             Attorneys for Defendants
1,2                        l-00 Church Street
l_3                        New    York,          New        York   1-0007

L4                  BY:     CAROLYN DEPOIAN, ESQ

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L7

].8     ALSO PRESENT:

19 'Julia Kuan, EsQ., Romano & Kuan
2O Rachel Seligman, Esq., Corporation Counsel
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                                                                                          L2
     1-                               SHAN]QUA CLARK

     2              A.       Yes.
     3              a.       Who was    that?
     4              A.       Police Officer Moise.
     5           O.    Were you working out of the                42nd
     6      precinct at the time?
     7              A.       Yes.

     I              O.       Are you sti1l?
     9             A.        No.

1_0                 a.       Where   are you now?
1_   l_            A.        Bronx Special Victims Squad.
L2                  O.       How    long have you been with the Bronx
13           Special Victims        Squad?

L4                 A.        Since September     201-6.

1_5                 O.       Before joining the Bronx Special
16          Victims Squad, were you part of the anti-crime
L7          unit at the 42nd precinct?
l_8                A.        Yes.
t9                 O.        So you went from the anti-crime unit to
20          the special victims squad, is that right?
2L                 A.        Yes.
22                 O.        So you said that you remember
23          responding to Arthur Avenue and Crotona park?
24                 A.        Yes.
25                 O.        What do you remember seeing when you

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                                                                                           13

 1-                              SHANIQUA CLARK

 2      got there?
 ?                A       I didn't rea11y see anything.                 I   spoke

 4      to either Sergeant Rosario or Officer                    Wooten

 5                a.      What did they tel1 you?
 6                A.      They informed me that a guy fell-.
 7                O.      From where?
 I                        MS. DEPOIAN: Objection.
 9                A.      From the fence.
t_0               a.      Where were you standing when you had
1l-     thi   s   conversation with either Sergeant Rosario or
L2      Officer        Wooten?

13                A       On the corner.
T4                O       Could you see the fence from where you
l-5     were?

T6                A       Yes.

L7                O       Could you see the grassy area below the
18      fence?
1,9               A       No

20                O       Did you ever look over the fence to the
2L      grassy area below?
22                A.      YeS.

23                O.      Did you see     anyone down there?

24                A.      No     correction.         I did see         an

25      officer,        but I don't    remember who.

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                                                                                      t4
 1                               SHANIQUA CLARK

 2             O.        fs it your understanding that the
 3      person who had fallen, ds you put it,               had already
 4      been taken away in an ambulance?
 5             A.        Can you   repeat that?
 6             O.        Sure. You said you looked over the
 7       fence and you saw an officer but nobody else in
 8      the grassy area, is that correct?
 9             A         That is correct.
1_0            O         So is it your understanding that the
1-l- person who had faIlen,             ds   you put it,    had already
L2      been taken away by an ambulance?
1_3                      MS. DEPOIAN: Objection.
L4             A         No, he was still      there.
l_5            o         Where was he?
l-6                      MS. DEPOIAN: Objection.
L7             A         Somewhere down      there.
t_8            a         So when you said that you looked over
l-9     and saw an officer,         did you also see the         man who
20      had fallen?
2L             A         I couldn't see.
               o         But you just told me he was stil-l-         down

23      in the grassy area.
24                       MS. DEPOIAN: Objection.
25             A         Wae


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 1-                                  SHANIQUA CLARK

 2               o        Can you      explain how you know he was
 3       still       in the grassy area when you couldn't               see

 4       him?

 5               A.       The officers were still               there, and I
 6       was inf ormed he was still-              there.
 7               O.       -Sr:r   why riidn't. you see him?
 8                        MS   . DEPOIAN:       Obj   ection.
 9               A.       f'm afraid of heights and I leaned over
1-0 a littIe            bit, but I couldn't see him. I saw the
l-l-     height dif f erence and I pushed myself back.
12               O.       So you didn't get a full               view of the
13       area below the fence, is that fair to say?
L4               A.       Yes.

15               O.       When      you arrived at the scene at the
1,6 corner of Crotona and Arthur Avenue were there
L7       other officers as well?
18               A.       Yes.

19               O.       Do you recafl who was there?
20               A.       No.

2L               a.       Could you estimat.e how many other
22       of f icers were t.here?
23               A        I could not.
24               o        More than five?
25               A        I    woul-dn'   t   know.

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                                                                                        52
  :l_                               SHAN]QUA CLARK

 2               A         I do not.
 3                O        At any point on December 7, 2015, did
 4         you see the person who fell_ over the fence?
 5               A         No.

  6               o        You never saw him being loaded into an
 7         ambul-ance?

 8                         MS. DEPOIAN: Objection.
 9               A         No.

10               o         How    long did you stay on the          scene?
1t-              A         I don't recall.
t2               O         Did you see the ambulance leave?
1_3              A         I don'L recaIl.
L4               O         Did you see other officers leave before
l-5       you left?
1,6              A         I don't   remember.
1,7              o         Would that. be something you would note
18         in your     memo book?

1,9              A         No.

20               0         Would you note in your memo book when
2L        you responded to a call           for an officer      in need of
22        assistance?
23               A.        No.

24               O.        What   is the   memo   book for?
25                         MS. DEPOIAN: Objection.

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